      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 1 of 41



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------x
ANIKA EDREI, et al .,

                        Plaintiffs ,

                                                       1 6 Civ . 1652 (RWS)
      - against -
                                                       OPINION

CITY OF NEW YORK , et al.,

                        Defendants.
-------------------------------------------x
                                           .,.----·---- · ·· - -. ·.::=·-======:::::;
                                            ..--------··-
A P P E A RA N C E S :                        USDCSUNY
                                                      DOClJMENT
            Attorneys for Plaintiffs
                                                      El,ECTRONJCAl J_Y FILED
            277 Broadway, Suite 1501                  DOC#:    ~~w==r::-""7-f-..,-:=--

            New York, NY 10 007                       DATE FILED:
            By : Gideon Orion Oliver , Esq.
                 Elena L. Cohen , Esq.
                 Michael Decker, Esq.



            Attorney for Defendants
            ZACHARY CARTER
            Corporation Counsel of the City of New York
            100 Church Street
            New York , NY 10007
            By: Ashley Garman , Esq.
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 2 of 41




Sweet, D.J.



     Plaintiffs Anika Edrei ("Edrei") , Shay Horse (" Horse") ,

James Craven ("Craven") , Keegan Stephan ("Stephan " ) , Michael

Nusbaum ("Nusbaum"), and Alexander Appel ("Appel " )

(collectively , the "Plaintiffs " ) have brought the following

lawsuit under 42 U. S . C . § 1983 against Defendants The City of

New York ("NYC") , William Bratton ("Bratton " ) , John Maguire

("Maguire"), and Mike Paletta ("Paletta")        (collectively , the

"Defendants") . Plaintiffs allege Defendants have violated their

rights under the First , Fourth , and Fourteenth Amendments of the

United States Constitution , and New York State claims of assault

and battery , arrest and false imprisonment , constitutional tort ,

negligence , and negligent hiring , screening, retention ,

supervision and training . Defendants have moved pursuant to Fed .

R. Civ . P . 12(b) (6) to dismiss Plaintiffs '   First Amended

Complaint ("FAC " ) . As set forth below , the motion is granted in

part and denied in part .



Prior Proceedings



     Plaintiffs commenced this action on March 3 , 2016.

(Dkt . 1.) Plaintiffs filed their FAC on August 1, 2016 , which


                                    1
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 3 of 41



expanded certain allegations from the initial comp l aint , added

Plaint i ff Appel , inserted Defendants Maguire and Poletto for

previous "John Doe " defendants , and added a claim for municipal

liability against NYC.      ( Dkt . 21. )



        The instant motion to d i smiss was heard and marked fully

submitted on January 26 , 2017 .       (Dkt . 35 . )



Facts



        The following facts are taken from the Plaintiffs '                FAC.

(Dkt. 21 . ) They are taken as true for purposes of the motion to

dismiss.



        i .   Long Range Acoustic Devices ("LRADs") And The XlOO



        LRAD devices were first developed around 20 00 , initially

for the military as a tool for ships to amp l ify and project

no i se to ward off other sh i ps.    ( FAC 'll'll 3 , 1 1 . ) The device has

also been marketed for non - military , loudspeaker - like purposes:

to produce "highly intelligible voice messages .                   . and

powerful alarm tones over large distances ." (FAC            'JI   5.) LRADs are

marketed as louder than traditional megaphones by around 20-35

decibels      ("dBs") , and have the capacity to disseminate messages

                                       2
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 4 of 41



to large crowds over ten b l ocks away .                  ( FAC      <JI<JI    9 , 13.) In

addition to amplifying sound, LRAD devices can possess a high-

pitched , volume adjustable "deterrent tone " that is marketed to

law enforcement as useful for crowd control by creating audible

discomfort when used at close range .                    (FAC     <JI<JI      11 - 12.)



       The lOOX Model LRAD ("lOOX") is a type of LRAD device

manufactured by the LRAD Corporat i on .                  (FAC       <JI<JI    1 , 80 . ) The lOOX

can project messages up to 600 meters away , produce a maximum

continuous output of 136 dB at one meter away, and has the

capacity to overcome 88 dBs of background noise at 250 meters.

(FAC   <JI   80.)



       ii .     The New York Police Department ' s                    ("NYPD " ) Use Of LRADs



       The New York Police Department ("NYPD") has owned and

employed LRAD devices since 2004 , when it purchased two LRAD

Model 3300s ("Model 3300) .       (FAC   <JI   57 . ) At the time of purchases ,

the NYPD stated it intended to use the LRAD devices to

disseminate information to large crowds , such as during

demonstrations or following terrorist attacks .                                  ( FAC    <JI   5 9.)

Between 2004 and 2011 , the NYPD used LRADs i nfrequently ,

principally as loudspeakers .       ( FAC      <JI <JI   64-65 , 67.)




                                         3
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 5 of 41



        In 2010, the NYPD conducted tests using the Mode l 3300 .

(FAC    ~    73.) These tests concluded that when LRAD device volume

was at around maximum , it resulted in a sound volume of around

100 to 110 dB at a distance of 320 feet away .               ( FAC   ~~   73 - 75.)

The NYPD did not take readings of t he Model 3300 within 320 feet

of the device , a zone labeled a "potential danger area ."

( FAC   ~    77 . ) 1



        Sometime between 2010 and 2011 , the NYPD purchased an XlOO.

( FAC   ~    78.) However , the NYPD did not start using LRAD devices

regu l arly at demonstrations until around December 2014.

(FAC    ~~    71- 7 2 , 105 . ) From the i ni t ia l purchase of LRADs through

to the instant action , the NYPD d i d not have written po l icies

and training materials in place for police officers using LRAD

devices in the f i eld .      (See FAC   ~~   94 - 104 . )



        ii i . The December 4 And 5 , 2014 Protest



        On the evening of December 4 , 20 1 4 through the morning of

December 5 , 2014 , protests and demonstrations took place around

New York City in response to a Staten Is l and grand jury ' s



1 For point of reference , sound levels start i ng around 85 to 90
dBs and louder can cause human discomfor t and damage a perso n' s
hearing . (FAC ~ 80 - 83 . )

                                          4
       Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 6 of 41



decision not to ind i ct an NYPD officer for the death of Eric

Gardner .    (FAC   ~~   107-08 . ) Plaintiffs were present at one of

these protests in the capacity of photojournalists , f i lmmakers ,

observers , or active protestors .            (FAC   ~~   1 , 109.) At around lam

on December 5 , 2014, each of the Plaintiffs were part of a

protest taking place at the intersection of 57th Street and

Madison Avenue in Manhattan (the "Protest " ) .               (FAC   ~~   109 - 11 ,

142, 207 - 08, 260 - 61 , 298 , 328 , 352 - 56 . ) Around this time , police

officers arrested some of the protesters , which Pl aintiffs and

others witnessed from the intersection but without interfering.

(FAC   ~~   111 - 14 , 144 - 45 , 148 , 213 - 14 , 260-61 , 298 - 99 , 328, 356 ;

Declaration of Ashley R. Garman dated October 25 , 2016 ("Garman

Deel.") Ex. C at 00 : 14-01 : 24 . 2 ) During the arrests , other

unidentified protesters threw objects , likely glass bottles,

towards where the police were making the arrests .                   (FAC    ~~   115 ,


2 Defendants contend that videos taken by Plaintiffs Craven and
Nusbaum were incorporated by reference into the FAC at ~ 315 and
are properly considered by the Court in their Motion to Dismiss.
(Supp . Mem . at 2 n . 2 . ) Although Plaintiffs disagree as to
whether they incorporated the videos into their FAC , they do not
object to the videos ' cons i deration , and in fact cite to it in
their reply motion papers . (Opp . Mem . at 5.) The Court will
consider them . See Blue Tree Hote l s Inv . v. Starwood Hotels &
Resorts , 369 F . 3d 2 1 2, 217 (2d Cir . 2004) (permitting
consideration of "any documents that are either incorporated
into the complaint by reference or attached to the complaint as
exhibits") ; Hershey v . Goldstein , 938 F . Supp . 2d 491 , 498 n . 1
(S.D.N . Y. 2013) (considering video footage on motion to dismiss
that is referenced in complaint and referenced by defendant in
reply brief) .

                                          5
       Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 7 of 41



149, 212, 262 , 329.) Other unidentified protesters threw garbage

into the air and the street.           (Garman Deel. Ex. C at 01: 4 9-

01: 59 . ) Some police officers used pepper spray on the crowd.

(FAC   ~~   117, 211, 301.) Many who had been watching the Protest

events began to run in different directions.                     (FAC    ~~   118, 151 -

52 , 305 , 358-59 . ) The police ordered those present at the

Protest to return to the sidewalk .             (FAC   ~    215 . )



       Defendants Maguire and Poletto, members of the NYPD

Disorder Control Unit, were at this time standing in the street

at 57th Street and Madison Avenue.              (FAC   ~~    1 , 119 - 21 . ) In

response to these events, the officers began using the XlOO ' s

deterrent tone and broadcasting a message that identified

themselves as NYPD and directed people to get on the sidewa lk

and out of the street.         (FAC   ~~   122, 125, 160, 221 , 333 , 363 . ) In

response to the amplified sound from the XlOO , Plaintiff Nusbaum

used earplugs he brought with him and proceeded to film the

officers     (FAC   ~~   337 - 38) ; the other Plaintiffs moved away from

the area of the XlOO to escape the noise (FAC                    ~~     163-64, 230-31 ,

272 , 308 , 361-6 . ) During this time , Defendants Maguire and

Poletto employed the deterrent tone between fifteen to twenty

times over a span of three minutes and at a rate that was

"almost continuously ." (FAC          ~~   125, 219 , 27 1. ) At various points

during this three minute span , Defendants Maguire and Poletto

                                            6
       Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 8 of 41



fired the XlOO fewer than ten feet away from Plaintiffs and

others , angling the XlOO at them .         (FAC 'TI 131.)



      As a resu l t of their exposure to the XlOO ' s sound ,

Pl aintiffs have suffered sustained physical injur i es , such as

mi graines , sinus pa i n , d i zz i ness , fac i al pressure , ringing in

ears , and sensitivity to no i se.       (FAC 'TI'TI 158 , 165 - 72 , 175 - 79 ,

182 - 83 , 235-44 , 273 - 79 , 311 - 14 , 341 , 345 , 367 - 70 , 380.)

Plaintiff Horse was diagnosed with tinnitus in both ears and

vertigo.     (FAC 'TI'TI 239 - 42 . ) Plaintiff Appel was diagnosed with

hearing loss caused by nerve damage , although his prognosis is

positive .    (FAC 'TI'TI 371-76.) As a result of their exper i ence

during the Protest , Pla i ntiffs are fearful of and deterred from

attending future protests , which has adversely a f fected t h eir

respective careers .     (See FAC 'TI 1 87 - 96 , 245-49 , 281 - 84 , 316 - 19 ,

343 , 377 - 79 . )



Applicable Standard



      On a Rule 12(b) (6) motion to dismiss, a ll factua l

a ll egations in the compla i nt are accepted as true and all

inferences are drawn in favor of the pleader . Mi ll s v . Po l ar

Molecular Corp ., 12 F . 3d 1170 , 1174       (2d Cir . 1993) . A complaint

must contain " sufficient factual matter , accepted as true , to

                                        7
         Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 9 of 41



'state a claim to relief that is plausible on its face. ' "

Ashcroft v . Iqbal, 556 U. S . 662 , 663 (2009)         (quoting Bell Atl.

Corp. v . Twombly, 550 U. S. 544 , 555 (2007)) . A claim is facially

plausible when "the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is

l iable for the misconduct alleged . " Iqbal , 556 U. S . at 663

(quoting Twombly , 550 U. S . at 556). In other words , the factual

allegations must "possess enough heft to show that the pleader

is entitled to relief . " Twombly , 550 U.S. at 557           (internal

quotation marks omitted).



     Additionally , while "a plaintiff may p l ead facts alleged

upon information and belief 'where the belief is based on

factual information that makes the inference of culpability

plausible, '    such allegations must be ' accompanied by a statement

of the facts upon which the belief is founded . '" Munoz - Nagel v .

Guess,    Inc ., No . 12 Civ. 1312 (ER) , 2013 WL 1809772, at *3

(S . D. N.Y. Apr . 30 , 2013)   (quoting Arista Records , LLC v . Doe 3 ,

604 F . 3d 110 , 120 (2d Cir. 2010)); Prince v . Madison Square

Garden , 427 F . Supp. 2d 372 , 384        (S . D.N.Y . 2006) ; Williams v .

Calderoni , 11 Civ . 3020 (CM) , 2012 WL 691832 , at *7          (S . D.N . Y.

Mar . 1 , 2012)) . The p l eadings , however , "must contain something

more than .          a statement of facts that merely creates a




                                       8
     Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 10 of 41



suspicion [of] a legally cognizab l e right of action." Twombly ,

550 U. S . at 555 (citation and interna l quotation omitted) .



Defendants' Motion To Dismiss Plaintiffs' FAC Is Granted In Part
And Denied In Part


     To state a claim under 42 U. S.C .    §   1983, a plaintiff must

show that "(1) the challenged conduct was attributable at least

in part to a person who was acting under color of state law and

(2) the conduct deprived the plaintiff of a right guaranteed

under the Constitution of the United States . " Snider v. Dylag ,

1 88 F.3d 51 , 53 (2d Cir. 1999). For each respective alleged

offense , Defendants were plausibly acting under color of state

law. Plaintiffs claim that Defendants are liable under Section

1983 for First , Fourth , and Fourteenth Amendment violations , and

municipal liability under Monell v. Dep't of Soc . Servs . of the

City of N. Y. , 436 U. S. 658   (1978) . Plaintiffs also allege

violations of state and common law . Claims are addressed by FAC

count below .


     1 .   Unreasonable Seizure and Excessive Fo rce Claims Under
           The Fourth and Fourteenth Amendment (Count One)


     Plaintiffs allege that Defendants Maguire and Poletto's use

of the lOOX violated Plaintiffs' Fourth and Fourteenth Amendment

rights , specifically by causing an unlawful seizure of


                                    9
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 11 of 41



Plaintiffs '   persons and by Defendants '          use of excessive force

against Plaintiffs .      (FAC 'TI'TI 383 - 90) .



      A person has been "seized" within the meaning of the Fourth

Amendment when an "officer , by means of physical force or show

of authority ,          . in some way restrain[s ] the liber t y o f a

citizen ." Terry v . Ohio , 392 U. S. 1 , 19 n . 16 (1968) . Put anot h er

way , an encounter between a police officer and an individual

"constitutes a     ' seizure '   for the purposes of the Fourth

Amendment .         ' if , in view of all the circumstances

surrounding the incident , a reasonable person would have

be l ieved that he was not free to leave .'" Sheppard v . Beerman ,

1 8 F . 3d 147 , 153 (2d Ci r. 1 994)       (quoting United States v .

Mendenhall , 446 U. S . 544 , 544        (1980)) ; see a l so Salmon v .

Blesser ,   802 F . 3d 249 , 253 & n . 3 (2d Cir . 2015)      (observing that

the inquiry could also be framed as whether " a reasonable person

would feel free to .          . otherwise termi nate the encounter ," but

noting that    ' departure is the most obvious way '         to terminate

encounters "   (citat i ons omitted)) .



      Outs i de of an unlawfu l      seizure , a p l aintiff can still try

to state a Sect i on 1983 cla i m o f excess i ve force under the

Fourteenth Amendment ' s Due Process Cl ause . Hemph il l v . Schott ,

1 41 F . 3d 412 , 418   (2d Cir . 1998) ; see a l so Tierney v. Davidson ,

                                          10
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 12 of 41



133 F . 3d 189 , 199 (2d Cir . 1998)       ("Plaintiffs do not assert that

they were arrested or seized, and therefore these [Section 1983]

claims fall outside the Fourth Amendment protections .                  and

are governed instead by the Due Process Clause of the Fourteenth

Amendment ." ) To determine whether an act i on i s

unconstitutionally excessive fo r ce , a four - part test is used :

"[1] the need for the application of force ,          [2] the relat i onsh i p

between the need and the amount of force that was used ,            [3] the

extent of injury inflicted , and [4] whether force was applied in

a good faith effort to maintain or restore discipline or

ma l iciously and sadistically for the very purpose of causing

harm ." Tierney , 133 F . 3d at 199 (quoting Johnson v . Glick , 481

F.2d 1 028 , 1033 (2d Cir . 1 973))    (a l teration in original) .

Excessive force c l aims must show "conscience - shocking " action by

a government actor . Johnson v. Newburgh Enlarged School Dist .,

239 F . 3d 246 , 252 (2d Cir . 2001) . Where an officer ' s use of

force was "de minimis , necessary , appropriate , and benign ," a

claim of excessive force under the Fourteenth Amendment should

not stand. Id. However , the " ' [r ] ules of due process are not

. subject to mechanical application ,'" and "var[y] according to

the different environments i n which the alleged excessive force

occurs . " Ali v. Szabo , 81 F . Supp. 2d 447 , 455 (S.D . N. Y. 2000)

(quoting Cnty . of Sacramento v . Lewis , 523 U.S. 833 , 848

( 1998)) .

                                      11
          Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 13 of 41




          Under the allegations put forward by Plaintiffs , their

Fourth Amendment claims cannot surv i ve. Plaintiffs allege that

the blocking the 57th Street roadway by Defendants Maguire and

Po l etto while firing the XlOO ' s ampl i fied sound at Plaint i ffs

resulted in Plaintiffs '        " seizure " because the off i cers ' act i ons

forced Plaintiffs to move from where they were .              (Opp . Mem. at 7 ;

FAC   ~    121 . ) This claim fails for several reasons .



          An officer ' s request to leave an area , even with use of

force , is not a seizure unless " accompanied by the use o f

sufficient force intentionally to restrain a person and gain

control of his movements ." Salmon , 802 F. 3d at 255 (reversing

d i smissa l of seizure c l aim when officer ejected p l ain t iff from

courthouse by grabbing plaintiff ' s collar and " v i olently"

twisting plaint i ff ' s arm) . While exposed to the XlOO , n o ne of

the Plaintiffs have plausib l y a l leged that their movements were

restrained . Rather , Plaintiffs state that while the XlOO was

used by Defendants Magu i re and Poletto , each Plaintiff moved

around the Protest area or left the vicinity of the XlOO as each

des i red , generally to escape the noise .        (See FAC   ~~   164 , 220 ,

223 , 268 , 272 , 308 , 337 - 38 , 364 , 366.) Other than being

requested to leave the street and inclined to leave the Protest

intersection by the noise, the Plaintiffs have not al l eged they

                                        12
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 14 of 41



were not "f ree to go anywhere else that [they] desired ."

Sheppard, 18 F.3d at 153 (rejecting Fourth Amendment seizure

claim when plaintiff was required to leave a courthouse at

officer ' s command) . Under the FAC , it cannot be plausibly argued

that Defendants Maguire and Poletto "gain[ed] control" of

Plaintiffs' moments . Salmon , 802 F.3d at 255. Therefore,

Plaintiffs' unreasonable seizure claim is dismissed .



     With regard to their excessive force claim under the

Fourteenth Amendment , however , Plaintiffs have put forward a

cognizable claim . As a preliminary matter , Defendants contest

whether the use of the X100 and amplified sound can constitute

force.   (Supp . Mem. at 12 & n.7.) Th e parties have not provided,

and the Court has been unable to locate , case law addressing

LRAD-type devices and the use of high - volume sound alone by the

police . In support of their position, however,       Defendants point

to two New York Supreme Court cases which stand for the

proposition that "sound is not a substance but a physical

phenomenon ." Martzloff v. City of New York , 238 A . D. 3d 115, 117

(N.Y . App . Div . 1st Dep ' t 1997); see also Casson v . City of New

York, 269 A.D . 2d 185, 286 (N . Y. App . Div . 1 st Dep ' t 2000)

(applying Martzloff ) . These cases neither bind this Court nor

are persuasive . They discuss sound in application to New York

Civil Law Section 214 - c , New York State ' s statute of limitations

                                    13
       Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 15 of 41



rules for personal injury claims arising from exposure to

harmful substances . See N. Y. C. P . L . R.   §   214 - c. In rejecting sound

in this context , the Martzloff court reasoned that , " All cases

within the ambit of CPLR 214 - c involve the ingestion of a

substance , " and therefore sound would not apply . Martzloff , 238

A. D.3d at 117 . Whether sound can be ingested i s a narrower ,

substantively different question than whether sound can be used

as a force .



      The use of the XlOO as a projector of powerfully amplified

sound is no different than other tools in law enforcement ' s

arsenal that have the potential to be used either safely or

harmfully , one examp l e being d i straction devices-items like stun

grenade, flash bang , or concussion grenades-which "detonate with

a b l inding f l ash of l ight and a deafening explosion" and whose

purpose is to be " extremely loud " and distracting . Terebesi v.

Torreso , 764 F . 3d 217 , 236 (2d Cir. 2014) . " When used properly

[these tools] cause minimal damage , " but some courts have held

their usage "to be excessive force where the police used clear

disregard for the safety of [those in the vicinity] . " Ramage v .

Lou i svile/Jefferson Cnty . Metro Gov ' t , 520 Fed. App ' x 341 , 346 -

47   (6th Cir . 2013)   (citing cases) . Although distraction devices

have the potential to be more harmful than LRAD devices because

of injury from explosion, both tools can resu l t i n comparable

                                     14
         Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 16 of 41



bodily injury if used improperly. Compare Bantum v . City of

N. Y., No . 97 Civ. 4221 , 2001 WL 705889 , at *1 (S . D. N. Y. June 21,

2001)         (plaintiff alleged that police ' s use of a distraction

device "caused him to suffer a broken eardrum and emotional

trauma") , with (FAC          <JI   30 (noting that loud sounds "have the

potential to cause significant harm to the eardrums and delicate

organs of the ears " )) . This is force , and the kind which could

be used excessively .



        Construed most favorably to the Plaintiffs , their alleged

injuries go beyond the de minimis threshold . As a result of

exposure to the XlOO ' s sound , Plaintiffs allege acute head pain

and hearing loss for differing periods of time following the

Protest .        (FAC ']['][ 168 , 175, 194 , 232 , 273 - 75 , 313 - 15 , 345 , 367 -

70 . ) Plaintiff Appel states that doctors found that the noise

from the XlOO caused bones to move in his ear , damaging a nerve.

( FAC   <JI   372 . ) Defendants point to Plaintiffs' video evidence to

show that wh i le the XlOO was in use, protestors are visible not

exhibiting signs of pain from the noise .                 (Supp . Mem. at 9.)

While suggestive evidence to the contrary , the angles and nature

of the video make details difficult to discern abso l utely . It is

reasonably plausible that the v i deo , which is frenetic in style

and does not stay on any one protester for an extended period of

time , does not rebut the claim that Plaintiffs, if situated

                                             15
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 17 of 41



where and when they claimed to have been in relation to the

XlOO , sustained their alleged injuries.              (See Garman Deel. Ex.

c . )




        Furthermore, based on the written allegations and video

evidence, it can be plausibly inferred that the use of a high -

powered sound magnifier in "close proximity" to Plaintiffs was

not appropriate. United States v . Morris , 349 F.3d 1009, 1012

(7th Cir. 2003)          (discussing the dangers and limited reasonable

contexts for using flash - bang devices). The Protest involved

large numbers of people , and so it is understandable that the

officers would want t o increase the volume of their message to

reach the largest number of people.              (See Garman Deel. Ex. C at

00 : 14 - 01: 2 4; FAC   ~   261 , 300.) However, the allegations and video

make the Protest appear broadly in control , even when glass

bottles were thrown from the crowd toward the police.                   (See

German Deel . Ex. C at 1:24-1:35; FAC            ~~   115, 149, 212 , 262,

358.) Under these circumstances , it is reasonably plausible that

there was disconnect between Defendants Maguire and Poletto's

need to use a powerfully loud device like the XlOO

"indiscriminately," (FAC           ~   225) , " almost continuously ," (FAC

~   338) , and within ten feet of Plaintiffs ,           (FAC   ~   131), and the

harm alleged to be resultant from its use to those in close

proximity .

                                           16
          Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 18 of 41




          Defendants respond that even if the XlOO was unnecessary

and injurious, Plaintiffs' allegations do not demonstrate that

Defendants Maguire and Poletto's actions rose to the level of

malice or sadism to amount to excessive force claim because the

off icers are alleged to be requesting that those attending the

Protest leave the street.           (S upp. Mem. at 10-11. ) Based on the

allegations, crowd contro l was part of o ffi cers '           objectives .

However , Plaintiffs have also alleged that the XlOO was used by

Defendants Maguire and Poletto by deliberately pointing and

angling it at Plaintiffs and othe rs du ring the protest               ( FAC

~~   131 , 229.) Viewed in the light most favorable to Plaintiffs ,

Plaintiffs '      allegations about the manner in which the XlOO was

used , that Defendants Maguire and Poletto knew , or should have

known, that Pla i nt i ffs would be harmed , "plausibly suggesting a

claim for excessive force." Coleman v. City of Syracuse , No. 09

Civ. 1391 (GTS )         (GHL) , 2011 WL 1 3808 , at *4   (N .D.N.Y. Jan . 4 ,

201 1 )    (deny ing motion to dismiss for Fourteenth Amendment

excessive force c laim when plaintiff alleged defendant police

off i ce r's "unjustified" s trike on plaintiff's person resulted in

bone fra ctures) .



          Defendants '   qualified immunity defense at the motion to

dismiss stage is unavailing. A defendant is entitled to

                                          17
         Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 19 of 41



qualified immunity " if either (1) his actions did not violate

clearly established law or (2)        it was objectively reasonable for

him to believe that his actions did not violate clearly

established law . " Iqbal v . Hasty , 490 F . 3d 143, 152 (2d Cir .

2007). "A right is clearly established if (1) the law is defined

with reasonable clarity ,       (2) the Supreme Court or the Second

Circuit has recognized the right , and (3) a reasonable defendant

[would] have understood from the existing law that [his] conduct

was unlawful . " Anderson v . Recore, 317 F.3d 194, 197         (2d Cir.

2 003)    (alterations in original)     (internal quotation marks and

citation omitted). However , "[u]sually, the defense of qualified

immunity cannot support the grant of a          [Rule] 12 (b) (6) mo tion."

McKenna v. Wright, 386 F.3d 432 , 435        (2d Cir. 2004)    (quoting

Green v . Maraio, 722 F.3d 1013 , 1018 (2d Cir . 1983)). At this

stage , "[n]ot only must the facts supporting the defense appear

on the face of the complaint , but , as with all Rule 12(b) (6)

motions ,           the plaintiff is entitled to all reasonable

inferences from the facts alleged , not only those that support

h i s claim , but also those that defeat the immunity defense . " Id.

at 436.



         Defendants argue that the unconstitutionality of the

officers' actions, specifically that amplified noise can

constitute unconstitutional force , was not established at the

                                       18
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 20 of 41



Protest , entitling them to qualified immunity .         (Supp . Mem . at

12-14 . ) While there is l ittle case law discussing the prec i se

issues present in the instant complaint , " officials can still be

on not i ce that the i r conduct vio l ates estab l ished l aw even in

nove l factual circumstances ." Hope v. Pelzer , 536 U. S . 730 , 74 1

(2002) . As discussed above , while LRADs might be new police

device deve l opments , there is much case l aw discussing the need

for careful , vicinity - specific considerations when using too l s

l ike distract i on devices . These " analogous cases " could have

informed the officers that their act i ons , if as Pl aintiffs

allege , were unreasonab l e . Negron v . City of N.Y ., 976 F . Supp.

2d 360 , 370 - 71 (E . D. N. Y. 2013)   (quoting Landis v . Baker , 297

Fed . App ' x 453 , 463 (6th Cir . 2008)) . As it is not "beyond

doubt" that Plaintiffs " can prove no set of facts in support o f

[their ] claim ," d i smi ss i ng Plaintiffs ' claim on the grounds of

qualif i ed immunity at this time would be inappropriate . McKenna ,

386 F . 3d at 436 (quot i ng Citibank , N.A . v . K- H Corp., 968 F . 2d

1489 , 1494   (2d Cir . 1992)) .



      Accordingly , to the extent that Plaintiffs ' claim is

premi sed on a Fourteenth Amendment excessive force violation ,

Defendants ' motion to dismiss Count One of the FAC is denied .




                                        19
       Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 21 of 41



       ii .    First Amendment Violation Claims (Count Two)



       Plaintiffs have alleged that Defendants ' use of the XlOO

violated their First Amendment right to assemble and express

protected speech. Specifically , Plaintiffs ' allege that

Defendants ' actions were a retaliation i n response to

Pl a i ntiffs ' exercise of free speech , which has consequent l y

chilled Pla i ntiffs ' speech , and that Defendants Maguire and

Poletto ' s use of the XlOO was a dispersal order that

impermissibly regulated Plaintiff ' s speech because it was either

not content - neutral or insufficiently narrowly - tailored .         (See

FAC   ~~   399 - 408 . )



       " To plead a First Amendment reta l iation claim a plaintiff

must show:       (1) he has a right protected by the First Amendment ;

(2) the defendant ' s actions were motivated or substantially

caused by his exercise of that right ; and (3) the defendant ' s

actions caused h i m some injury ." Dorsett v . Cnty . of Nassau , 732

F . 3d 1 57 , 160 (2d Cir . 2013)   (citing Curley v . Vil l age of

Suffern , 268 F.3d 65 , 73 (2d Cir. 2001)) ; see also Higginbotham

v . City of N. Y. , 1 05 F. Supp . 3d 369 , 378   (S . D. N. Y. 2015).

Pol i ce dispersal orders where "politica l speech [becomes]

uncond i tional l y silenced " requires analysis under the " clear and

present danger standard ." Wiles v . City of N. Y., No . 13 Civ.

                                      20
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 22 of 41



2898    (TPG) , 2016 WL 6238609 , at *5 (S.D .N.Y. Oct . 25 , 2016)

(citing Cantwe ll v . Connecticut , 310 U.S. 296 , 308         (1940)) . If,

however, a dispersal order made during a demonstration only

relocates demonstrators, the Second Cir cuit instructs courts to

review those actions like a "time , place, and manner

[regulation] restriction on speech." Id., 2016 WL 6238609 , at *5

& n.l    (citing Zalaski v . City of Hartford, 723 F.3d 382 , 388            (2d

Cir. 2013)). Time, place, and manner restrictions are

permissible if they " (l) are justified wi thout r eference to the

content of the regulated speech,           (2) are narrowly tailored to

serve a significant governmental interest , and (3)            leave open

ample, alternative channels for communication of the

information." Marcavage v. City of N.Y.,           689 F.3d 98 , 104   (2d

Cir. 2012).



        Defendants argue that several Plaintiffs are not entitled

to First Amendment protection because they were on l y present at

the protest to document it rather than protest, which Defendants

argue falls o utsi de the realm of protected political speech.

(Supp . Mem . at 6 n . 7 ; see FAC   ~~   1 39 , 202 , 288 . ) The Court need

not parse which Plaintiffs may or may not have been be entitled

to speech protection while at the Pro t est because even if they

were all present to protest , Plaint iffs h ave sti ll failed to

state First Amendment violat i ons claims .

                                      21
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 23 of 41




     With regard to the retaliation claim, Plaintiffs have not

plausibly pled that Defendants' actions were motivated by the

content of Plaintiffs' speech . Rather , Plaintiffs state that

Defendants used the XlOO to instruct Plaintiffs and others at

the Protest to "get or stay on the sidewalk and out of the

street" in the midst of an increasingly confrontational, though

not yet uncontrollable, period.      (FAC '1I 122 ; see supra at 16-17.)

This is a reasonable mo tivation: States have "a strong interest

in ensuring the public safety and order " and "in promoting the

free flow of traffic on publ i c streets and sidewalks ." Madsen v.

Women ' s Health Ctr. , Inc., 512 U. S . 753, 768   (1994). In

addition , Plaintiffs have failed to alleged plausible facts to

show that Defendants Maguire and Poletto's use of the XlOO was

based on Plaintiffs ' exercise of free speech . 3



     Plaint i ffs ' claim as to the dispel order similarly fails .

First , " the clear and present danger standard" is inappropriate

here , as Plaintiffs '   FAC pleads only that the officers were

3 The one except i on is Plaintiff Horse's claim that Defendants
Maguire and Poletto targeted him due to a "critical comment "
Horse made towards them. (FAC '1I 228 . ) Given the context of the
officer's actions and their use of the XlOO directed at all
surrounding protestors and demonstration attendees , even
Plaintiff Horse's claim does not " plausibly establish " that
Defendants ' actions were inspired by his shout . Iqbal, 556 U. S .
at 681 .

                                   22
     Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 24 of 41



trying to move the people onto the sidewalk , not end the

demonstration in full. Thus , to the extent that Defendants' use

of the XlOO constitutes a dispel order , the actions are properly

analyzed as a time , place , manner restriction . Under that

metric , the claim first fails because the officers left open an

adequate alternative location within " close proximity " to the

original l ocation in the street: the sidewalk . Wi l es , 2016 WL

6238609 , at *5 (accepting a park a few blocks away from the

current protest area as sufficiently proximate). The State has a

strong interest in permitting free flowing traffic on public

streets and sidewalks , " which is sufficient to justify a

narrowly tailored injunction ." Id. And as already discussed ,

there are no plausible allegations that Defendants Maguire and

Poletto used the XlOO because of the content of any speech by

Plaintiffs.



     Accordingly , Defendants ' motion to dismiss Count Two of the

FAC is granted .



     iii . Equal Protection And Substantive Due Process Violation
           Claims Under The Fourteenth Amendment (Count Three)


     Pl aintiffs allege that Defendants violated their rights to

equal protection and substantive due process under the

Fourteenth Amendment .   (FAC   ~~   409-411 . ) With regard to their


                                      23
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 25 of 41



substantive due process claim , Plaintiffs specifically contend

that Defendants ' actions violated their constitutionally

protected " right to remain " and " right to travel " and that

Defendants ' actions " shocked the conscious ." (Opp . Mem . at 12 -

13 . ) None of these claims can survive.




     The Plaintiffs ' additional substantive due process claim

fails. A police officer requesting that protestors move from the

street to the sidewalk is in furtherance of a reasonable State

interest and is the kind of " minor restr i ction[] on travel

[that] simply do[es] not amount to the denial of a fundamental

r i ght ." Selevan v . N. Y. Thruway Auth ., 7 1 1 F . 3d 253 , 257   (2d

Cir . 2013) . The Court has already addressed Plaintiffs '

excessive force claim as part of the FAC ' s Count One . See

Section (i)   supra.




      Plaint i ffs ' equal protection claim i s insufficient l y pled .

A p l a i ntiff can maintain an equal protection claim "so l o ng as

he establishes that he was treated d i fferently than similarly

sit u ated persons and that the unequa l treatment he received was

motivated by personal animus ." Jackson v . Roslyn Bd . of Educ .,

438 F . Supp . 2d 49 , 55 (E . D. N. Y. 2006)   (citing Harlen Assoc. v .

Inc . Vi l l age of Mineola , 273 F . 3d 494 , 500 (2d Cir . 2001)) ; see

                                     24
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 26 of 41



also Brown v. City of Oneonta , N.Y ., 221 F . 3d 329 , 337       (2d Cir .

2000)     (" The Equal Protection Clause ' is essentially a direction

that a l l persons similarly situated should be treated alike .'"

(citat i on omitted)) . Plaintiffs '    FAC fails to plausibly allege

that Plaintiffs were treated any differently than any other

persons present at the protest. I nstead , as Defendants note , the

FAC repeatedly alleges the opposite : that the Defendants Maguire

and Pole t to used the lOOX "indiscriminately ,"       (FAC ! 225) , and

against " all people in the area ," (FAC ! 396 ; see also FAC

' '   120 , 406).




        Accordingly , Defendants ' motion to dismiss Count Three of

the FAC is granted .



        iv .   Municipal Liability Claims (Count Four)



        Plaintiffs also bring c l aims against Defendants alleging

that (1) Defendants Maguire and Poletto possessed final

authority to enact policies that caused their alleged

constitutiona l violations , which we r e later ratif i ed by

Defendant Bratton and (2) that Defendant NYC failed to enact

proper policies , supervision , and training , which resulted in




                                      25
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 27 of 41



the violation of Plaintiffs '    constitutional rights . 4 (FAC   ~~    412-

22; see Opp. Mem. at 23 - 25 & n . 61 . ) See also Monell v. Dep ' t of

Soc. Servs. of the City of N. Y., 436 U. S. 6 58     (1978) .



     To hold a municipal entity liable under Section 1983, a

plaintiff must plead and prove that his constitutional rights

were violated, that the alleged actions by the employees were

the result of an official policy , custom , or practice of the

municipal defendant , and that the policy , custom, or practice

caused the plaintiff's alleged injuries . City of Canton v .

Harris , 489 U. S . 378 , 385 (1989) ; Monell,   436 U.S. at 690 - 95 . A

plaintiff may satisfy Monell's "policy, custom o r practi ce "

requirement in one o f four ways . See Moray v. City of Yonkers ,

924 F. Supp. 8 , 12 (S.D.N.Y . 1996) . The plaintiff may allege the

4  Although Plaintiffs state in their reply papers that they have
"sufficient allege[d] municipal liability based o n each of four
familiar theories of Monell liability, " (Opp. Mem . at 23) , their
reply papers o nly discuss the second and fourth Monell theories ,
 (see Opp . Mem . at 23-26) . To the extent that Plaintiffs alleges
the remaining Monell theories, they are not plausibly plead . Fo r
the first theory , Plaintiffs only provide a conclusory
allegation that Defendants Bratton and NYC "developed , adopted,
and/ or endorsed formal policies" with regard to LRAD use , ( FAC
~ 419), which cannot be reasonably pled while alleging that the
NYPD did not appear to have any policies regarding LRAD use
through Fall 2012 and without any additional facts alleged , (see
FAC ~ 106) . For the third theory, Plaintiffs have alleged that
the NYPD only started using LRADs at protests with any
regularity shortly before the Protest , making it implausible to
sustain a claim based o n a " persistent and widespread" practice
of LRAD abuse . (See FAC ~ 71 . )

                                   26
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 28 of 41



existence of : "(l) a formal policy which is officially endorsed

by the municipality ;   (2) actions taken or decisions made by

government officials responsible for establishing municipal

policies which caused the alleged violation of the plaintiff ' s

civil rights ;   (3) a practice so persistent and widespread that

it constitutes a ' custom or usage ' and implies the constructive

knowledge of policy- making officials; or (4) a failure by

official policy- makers to properly train or supervise

subordinates to such an extent that it amounts to deliberate

indifference to the rights of those with whom municipal

employees will come into contact . " Moray , 924 F . Supp . at 12

(internal citations and quotation marks omitted) . Proof of a

single incident of unconstitutional activity i s usually

insufficient to demonstrate the existence of a policy , unless

"the unconstitutional consequences of failing to train could be

so patently obvious that a city should be liable under [Section]

1983" and that violation of constitutional rights must be a

" highly predictable consequence " of the failure to train.

Connick , 563 U.S. at 63 - 64 .



     Under the second theory of Monell liability , the complaint

must contain allegations that the defendant - official had final

policy making authority in order to subject the municipality to

liability. See Schwab v . Smalls , 435 F . App ' x 37 , 40 (2d Cir .

                                    27
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 29 of 41



2011)    (affirming the district court ' s dismissal of a Section

1983 claim where the complaint contained lit tle more than a

"vague assertion " that defendants had final policymaking

authority). It is ultimately the plaintiff 's burden to

establish, as a matter of l aw, "that [an ] official had final

policymaking authority in the particular area involved

It does not suffice for these purposes that the off i cial has

been granted discret i on in the performance of his duties . Only

those municipal officials who have final po li cymaking authority

may by their actions subject the government to [Sect i on ] 1983

liabil it y . " Jeffes v . Barnes, 208 F . 3d 49, 57    (2d Cir. 2000)

(i nternal quotations and citations omitted) .



        Under the fourth theory of Monell liability , a plaintiff

can establish deliberate indifference by demonstrating that:

"(1) a po li cymaker knows to a moral certainty that her employees

will confront a given situation ;          (2) the situation either

presents the employee with a difficult choice of the sort that

tra i ning      . will make less difficu lt or that there is a

history of employees mishand lin g the s i t u at i on ; and (3) the

wrong cho i ce by the city employee will frequently cause the

depr i vation of a citizen ' s constitutional rights . " Chamberlain

v. City of White Plains , 986 F . Supp . 2d 363 , 391 (S . D. N. Y.

2013)    (quot in g Walker v . Cit y of N. Y., 974 F.2d 293 , 297-98      (2d

                                      28
       Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 30 of 41



Cir . 1992))    (internal quotation marks omitted) . " [D]emonstratio n

of deliberate indifference requires a showing that the official

made a conscious choice , and was not merely negligent ." Id .

(quoting Jones v . Town of E . Haven , 691 F . 3d 72 , 81        (2d Cir .

2012)) . The fa i lure to train mun i cipal employees may constitute

an act i onable policy , but only when a plaintiff can " identify a

specific deficiency in the city ' s training program and establish

that that deficiency is ' c l ose l y re l ated to the u l timate

injury ,' such that it ' actual l y caused ' the constitutional

deprivation ." Amnesty Am . v . Town o f W. Hartford , 361 F . 3d 11 3 ,

129 (2d Cir. 2004)     (citation omitted) .



       Pl aintiffs have not plausib l y p l ed liabil i ty under Monell ' s

second theory . Pla i n ti ffs a l lege that Defendants Magu ire and

Poletto were authorized to make final po l icy wi th respect to

LRAD use because they did not consult supervisors or obtain

permission before using the LRAD ,        (see FAC   ~~   426 - 28) , and that

their po li cy was l ater rat i f i ed by Defendant Bratton ,

(FAC   ~   424) . As the Second Circuit has stated , just because an

off i cer has " discretion to de t ermine how to handle the

particu l ar situation " does no t make that person a final

decision - maker. Anthony v . City of N. Y., 339 F . 3d 129 , 1 39       (2d

Cir . 2003)    (finding a police sergeant not a final decision -

maker) . Police officers us i ng equipment as part of their day - to -

                                     29
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 31 of 41



day operations cannot reasonably be argued to be "responsible

under state law for making po li cy in that area of the

[municipality ' s] business ." Jeffes , 208 F.3d at 57              (quoting Ci ty

of St. Lo uis v. Praprotnik , 485 U. S . 11 2 , 123 (1988)) .

Furthermore , with regard to allegations of Defendant Bratton ' s

ratification , " [t]he one-off instance of ' ratification and

approval ' asserted in the complaint .                does n o t    support ' an

inference of an unlawful municipal policy of ratification of

unconstitutional conduct within the meaning of Monell.'" Wal l er

v . City of Middletown , 89 F. Supp . 3d 279 , 287 n.3              (D . Conn .

2015)    (quoting Batista v . Rodr i guez , 702 F . 2d 393 , 397         (2 d Cir .

1983)) .



        As for Monell ' s fourth theory of liability, Defendants

argue Plaintiffs have not plausibly alleged that Defendant NYC

was on notice as to an omission in their training program with

regard to LRAD devices .      (See Supp . Mem . at 23-24 . ) Assuming the

allegations to be true and in the light most favorable to the

Plaintiffs , the FAC puts forward plausible cla ims that , by the

night of the Protest, Defendant NYC knew that police o ff icers

were using LRAD dev i ces as part of protest ,          (FAC   ~~   70 - 71) , had

considered the LRAD devices ' noise - magnifying capacities

important enough to study ,      (FAC   ~    73 - 77) , was aware of the




                                        30
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 32 of 41



devices ' noise -magnifying hazards 5 ,     (see FAC    ~   75) , and did not

change NYPD policies or practices to discuss the proper usage of

LRAD devices in the field ,      (see FAC   ~~   97 , 99 - 103) . 6 The

Chamberlain court's reasoning in allowing a Monell liability

claim against the Cit y of White Plain for failing to train

police officers on how t o deal with emotionally disturbed

persons ("EDPs") to survive a motion to dismiss is instructive

here:

        The Amended Complaint essentially asserts that WPPD
        officials knew to a " moral certainty ," Walker , 974
        F.2d at 297 , that [White Plains police] officers would
        encounter EDPs in the course of their duties .
        Furthermore, given the extreme volati li ty of such
        individuals and the need f or caution when dealing with
        them to prevent unnecessary escalation , it is
        plausible that interactions with EDPs present officers
        with "difficult choice[s] of the sort that training
           . will make less difficult ," Walker , 974 F . 2d at
        297 , and that a "highly predictable consequence " of
        officers making the wrong choices , Connick, 131 S.Ct.
        at 1361 (interna l quotation marks omitted) , would be


5
 Defendants argue that the t ests performed by the NYPD were for
the Model 3300 , not the XlOO , and are therefore "completely
irrelevant." (Supp . Mem. at 25 . ) While the precise readings from
the tests to not speak to the exact impact of the XlOO on a
listener , the tests demonstrate the range o f power of th e new
LRAD to ols and the plausibly pled need for training on LRAD
equipment generally.
6 Defendants point to the NYPD ' s Patrol Guide at proof of
training , which Plaintiffs allege in c luded instruct i o ns to
police o fficers to use "the minimal necessary force" while o n
patrol . (Reply Mem . at 11; FAC ~ 393 . ) That is not substantively
sufficient guidance to ensure that officers know how to safely
and effectively us e potentially hazard equipment like LRAD
devices .

                                      31
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 33 of 41



      " the deprivation of a citizen ' s constitutional
      rights ," Walker, 974 F.2d at 298 .

Chamberlain , 986 F. Supp. 2d at 393 . A comparable situation is

present here. Plaintiff ' s allegations paint a reasonably

plausible picture of Defendant NYC arming officers with

powerful , potent i a ll y harmful LRAD devices and placing those

officers in expectantly vo latil e protests , where o ffic ers wou ld

be presented with opportunities to use the LRAD device . Even in

the absence of prior similar v i olat i ons , the NYC knew that

officers with LRADs in the field were likely to face diff i cult

scenarios , such as incre as ingly agitated protests , where the

risk and harm of improperly using LRAD devices are great-

problems that cou ld have been avoided with proper training .

Thus , " [t]he complaint states a claim under the single-incident

theory of liability contemplated in City of Canton , and

recognized by the cited authority post-Connick ." Walker, 89 F .

Supp . 3d at 286 - 87 .



      Accordingly , to the extent that Plaintiffs ' municipal

liability cla im is premised on Defendant NYC ' s failure to

properly train under Monell , Defendants ' motion to dismi ss Count

Four of the FAC is denied .




                                    32
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 34 of 41



       v.        State And Common Law Claims (Counts Fi ve Through Nine)



        Plaintiffs '    fifth through ninth claims assert causes of

actions under New York State and common law. The Cou rt wi ll

exercise supplemental jurisdiction over those claims that "form

part of the same case or controversy " of Plaintiffs '         surviving

Fourteenth Amendment excessive force and Monell c laims. 28

U.S . C .   §   1367(a). Claims form part of the same case or

controversy when they "derive from a common nucleus of operative

fact ." United Mine Workers v . Gibbs , 383 U. S . 715, 725 ( 1 966) .

"[ I]n other words , they must be such that the plaintiff ' would

ordinarily be expected to try them all in one judicial

proceeding." Montefiore Med. Ctr . v . Teamsters Loca l 272 , 642

F.3d 321 , 332 (2d Cir . 2011)      (quoting Gibbs , 383 U. S . at 725) .

In deciding whether to exercise supplemental jurisdiction under

Section 1367(c) (3) , a district court must balance "the

traditional ' values of judicial economy , convenience , fairness ,

and comit y '" Kolari v . New York -Presb yter ian Hosp ., 455 F . 3d

11 8 , 122 (2d Cir. 2006)      (quoting Carneg ie-Me llon Univ . v .

Cohill , 484 U.S. 343 , 350 (1988)) .



                a . Assault And Battery (Count Five)




                                       33
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 35 of 41



        Plaintiffs allege state -l aw claim for assau l t and battery .

(FAC    ~~   433 - 39 . ) The e l ements of assau l t and battery i n New York

are " substantia ll y ident i ca l" to those of a Section 1983 c l aim

for excessive force . Caravalho v . City of N. Y. , No . 13 Civ. 174

(PKC)    (MHD) , 2016 WL 1274575 , at *22 (S.D . N. Y. Mar . 31 , 2016)

(quot i ng Posr v . Doherty , 944 F . 3d 91 , 95 (2d Cir. 1991)) .

Defendants make simi l a r arguments in seek i ng to dismiss th i s

claim as with Plaint i ffs ' excessive force claim , i n addition to

seeking shelter under state law qua l ified i mmunity . Having

denied Defendants ' motion to dismiss Plaintiff ' s excessive force

claim , it is proper for the Court to exercise supplementa l

jur i sd i c t ion over this c l aim , as bot h tu r n on the simi l ar

questions of the necess i ty in using the XlOO , the strength of

the Xl OO ' s force , and the intentionality of the Defendant

officers when using the XlOO . At this early stage and " without a

factua l resolution .         . it is not poss i b l e to determine whether

defendants are qualifiedly immune , " making it inappropriate to

dismiss the claim. Jones v . Parmley , 465 F . 3d 46 , 64         (2d Cir .

2006)    (quoting Simpkin v . City of Troy , 638 N. Y. S . 2d 231 , 232

(N . Y. App . Div . 3d Dep ' t 1 996)) .



        Accordingly , Defendants ' mot i on to dismiss Count Five of

the FAC is denied .




                                       34
          Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 36 of 41



                b. False Arrest And False Imprisonment (Count Six)



          Plaintiffs allege common law claims of false arrest and

imprisonment.        (FAC   ~~   440-44.) Under New York law, the tort of

false arrest is synonymous with that of false imprisonment.

Kraft v . City of N.Y.,           696 F. Supp. 2d 403, 421 n.8   (S.D.N .Y.

20 1 0)    (quoting Posr, 944 F.2d at 96) . "To state a c laim for

false arrest under New York law, a plaintiff must show that '(1)

the defendant intended to confine the plaintiff,              ( 2) the

plaintiff was conscious of the confinement ,             (3) the plaintiff

did not consent to the conf inement , and (4) the confinement was

not otherwise privileged.'" Savino v. City of N.Y.,              331 F.3d 63,

75 (2d Cir . 2003)          (quoting Bernard v. United States , 25 F.3d 98 ,

1 02 (2d Cir . 1 994)) . As Plaintiffs were never confined as a

result of the Defendants' use of the XlOO , see Section (i)

supra , this claim wi ll be dismissed.



          Accordingly, Defendants ' motion to dismiss Count Six of the

FAC is granted.



                c. Negligence (Count Seven)



          Plaintiffs allege common law negligence by Defendants in

use of the XlOO.        (FAC     ~~   445-50.) To state a claim for

                                            35
     Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 37 of 41



negligence , under New York Law a plaintiff must show : " (i) a

duty owed to the p l aintiff by the defendant ;       (ii) breach of that

duty ; and (iii) injury substantially caused by that breach ."

Lombard v . Booz-Allen & Hamilton , Inc ., 280 F . 3d 209 , 215       (2d

Cir . 2002) . Defendants contend that because Plaintiffs have

alleged intentional conduct on the part of Defendants they

cannot also allege negligence conduct for the same action .

Plaintiffs are correct : under New York State law , " when a

plaint i ff brings excessive force .          claims which are premised

upon a defendant ' s allegedly intentional conduct , a negligence

claim with respect to the same conduct will not lie." Clayton v .

City of Poughkeepsie, No . 06 Civ . 4881       (SCR) , 2007 WL 2154 1 96 ,

at *6 (S . D. N.Y . June 21 , 2007)   (citations omitted) . As

Plaintiffs have pled sufficient facts to support an excessive

force claim , they " cannot additionally argue that the same facts

would give rise to a claim for .           . negligence." Id.



     Accordingly , Defendants ' motion to dismiss Count Seven of

the FAC is granted .



           d. Constitutional Torts (Count Eight)



     Plaintiffs allege Defendants violated their rights under

Article I, Sections 8 , 9 , 11, and 12 of the New York

                                      36
     Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 38 of 41



Constitution , which address the right to speak freely , peaceably

assemb l y , to be afforded equal protection of the law, and

protection against unreasonable seizures .        (FAC    ~~   451 - 54 . ) The

New York Court of Appeals has recognized that a plaintiff may

bring constitutional tort claims for damages independent of a

common law cause of act i on . Brown v . States , 674 N. E . 2d 1129,

1137-41 (N . Y. 19 96) . However, this claim i s a "narrow remedy"

available only when there is no alternat i ve remedy , such as

actions at common law or under Section 1983 . Biswas v . City of

N. Y., 973 F . Supp. 2d 504 , 522   (S . D. N. Y. 2013)   (quoting Martinez

v . City of Schenectady , 97 N. Y. 2d 78 , 735 N. Y. S . 3d 868       (2001) .

As Plaintiffs have remedies for these a ll eged violates based on

similar grounds , all of which have been asserted in the FAC ,

Plaintiffs '   " state const itutional tort claim[s]       [are] redundant

and precluded ." Id .



     Accordingly , Defendants ' motion to dismiss Count Eight of

the FAC is granted .



           e . Negligent Hiring, Screening , Retention , Supervision
               And Training (Count Nine)


     Plaintiffs allege that Defendant NYC negligently hired,

screened , retained , supervised , and trained the Defendant

officers in violation of Plaintiffs '      rights under New York State

                                    37
        Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 39 of 41



law .   (FAC   ~~   455 - 59.) New York law does not permi t of a claim

for negligent hiring , screening , retention , supervision , and

training where defendants act within the scope of the i r

employment . See Schoolcraft v . City of N. Y. , 1 03 F. Supp. 3d

465 , 521 (S . D.N. Y. )       (collecting cases) , on reconsideration in

part , 133 F. Supp . 3d 563 (S .D.N. Y. 2015) . The FAC a ll eges and

Defendants have not denied that Defendants Maguire and Poletto

were acting within the scope of their employment during the

Protest .      (See FAC   ~~   50 , 458 ; Supp . Mem . at 30 . ) " [W] here a

defendant employer admits its employees were acting within the

scope of their employment , an employer may not be held liable

for negligent hiring , training , and retention as a matter of

law." Rowley v . City of N.Y ., No. 00 Civ . 1793 (DAB) , 2005 WL

2429514 , at *13 (S . D.N. Y. Sept . 30 , 2005) .



        Additionally , " an essentia l element of a cause of acti o n in

negligent hiring , retention, supervision , and training is that

the employer knew or should have known of the employee ' s

propensity for the conduct which caused the injury ." Bouche v .

Ci ty of Mount Vernon , No . 11 Civ . 5246 (SAS) , 2012 WL 98 759 2 , at

*9 (S . D. N. Y. Mar. 23 , 2012)       (quoting Sa l dana v. Village of Port

Chester , No . 09 Civ . 6268         (SCR)   (GAY) , 20 1 0 WL 6117083 , at *5

(S.D .N. Y. July 10 , 2010)) . Plaint iff s have a l so not alleged

facts sufficient to infer that Defendant NYC knew of the

                                             38
      Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 40 of 41



Defendant officers' propensity to act in the manner alleged ,

namely using a powerful sound magnifier in an unnecessarily

forceful manner.



      Accordingly, Defendants' motion to dismiss Count Nine of

the FAC is granted .



      vi.    Claims Against Defendant Bratton



       Plaintiffs have named former NYPD Police Commissioner

Bratton as a Defendant in his individual capacity . "[E]ach

Government official, his or her title notwithstanding, is only

liable for his or her own misconduct. " Iqbal, 556 U. S . at 677 .

Plaintiffs have failed to plausibly allege that Defendant

Bratton was present at the time of the Protest or that he was

personally involved in any decisions non-duplicative of those

included in the surviving Monell claims against Defendant NYC.

Accordingly, all claims against Bratton in his individual

capacity are dismissed . See Williams v. City of N. Y., No . 14

Civ . 5123   (NRB) , 2015 WL 4461716 , at *7   (S . D. N.Y. July 21,

2015) . 7



7 These same conclusions would apply were Bratton to have been
replaced with n o w-NYPD Commissioner James O' Neill under Fed . R.
Civ. P . 25(d) .

                                     39
     Case 1:16-cv-01652-JMF Document 53 Filed 05/31/17 Page 41 of 41



Conclusion



     For the foregoing reasons , Defendants ' motion to dismiss is

granted with regards to Counts Two , Three , Six , Seven , Eigh t ,

and Nine , and denied with regards to Count s One , Four , and Five .



     It   is so ordered .



New York, NY
May s( ' 2011


                                         ROBERT W. SWEET
                                             U.S.D.J.




                                    40
